Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 1 of 85 PageID #: 390




                 Exhibit 1
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 2 of 85 PageID #: 391



      IN THE UNITED STATES PATENT AND TRADEMARK OFFICE


          BEFORE THE PATENT TRIAL AND APPEAL BOARD


                      SAMSUNG DISPLAY CO., LTD.,
                              Petitioner,


                                      v.


                            SOLAS OLED, LTD.,
                               Patent Owner.


                          Case No. IPR2019-01668
                          U.S. Patent No. 9,256,311




PETITION FOR INTER PARTES REVIEW OF U.S. PATENT NO. 9,256,311
      UNDER 35 U.S.C. §§ 311–319 AND 37 C.F.R. § 42.100 et seq.
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 3 of 85 PageID #: 392




                              LIST OF EXHIBITS

 Exhibit        Description
 1001           U.S. Patent No. 9,256,311 (the “’311 patent”)
 1002           File History for U.S. Patent No. 9,256,311
 1003           U.S. Patent No. 8,722,314 (“Kuriki”)
 1004           U.S. Patent No. 9,395,851 (“Mikladal”)
 1005           U.S. Patent Application Pub. No. 2011/0102361 (“Philipp”)
 1006           U.S. Patent Application Pub. No. 2012/0218219 (“Rappoport”)
 1007           International Publication No. WO 2010/099132 (“Moran”)
 1008           U.S. Patent Application Pub. No. 2008/0223708 (“Joo”)
 1009           International Publication No. WO 2011/107666
 1010           U.S. Patent Application Pub. No. 2010/0045632 (“Yilmaz”)
 1011           Atmel Touch Sensors Design Guide, Rev. E (Sept. 2009)
 1012           U.S. Patent Application Pub. No. 20100123670
 1013           U.S. Patent Application Pub. No. 20090219257 (“Frey I”)
 1014           U.S. Patent Application Pub. No. 20100156840 (“Frey II”)
 1015           U.S. Patent No. 9,400,576 (“Chen”)
 1016           International Publication No. WO 2011/107665 (“Brown”)
 1017           International Publication No. WO 2011/062301
 1018           Scalable Coating and Properties of Transparent, Flexible, Silver
                Nanowire Electrodes, Hu et al. (Apr. 28, 2010)
 1019           U.S. Patent Application Publication No. 20110253668
 1020           U.S. Patent Application Publication No. 20110007011
 1021           U.S. Patent Application Publication No. 20120111479 (“Sung”)
 1022           SmartSkin: An Infrastructure for Freehand Manipulation on
                Interactive Surfaces, Rekimoto (Apr. 2002)
 1023           Declaration of Dr. Andrew Wolfe
 1024           Curriculum Vitae of Dr. Andrew Wolfe




                                     -i-
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 4 of 85 PageID #: 393




                                              Table of Contents

I.      Introduction......................................................................................................1

II.     Standing, Mandatory Notices, and Fee Authorization ....................................3

III.    Summary of Challenge ....................................................................................4

IV.     Overview of the ’311 Patent ............................................................................6

        A.       Prosecution History ...............................................................................9

V.      Level of Ordinary Skill ..................................................................................10

VI.     Claim Construction ........................................................................................11

        A.       “to form a mesh grid” ..........................................................................11

        B.       “the substantially flexible substrate and the touch sensor are
                 configured to wrap around one or more edges of a display” ..............12

                 1.        “edges of a display” ..................................................................12

                 2.        “touch sensor . . . to wrap around [the] one or more edges” ....13

VII. Overview of the Prior Art ..............................................................................14

        A.       Kuriki (Ex. 1003) ................................................................................16

        B.       Mikladal (Ex. 1004) ............................................................................22

        C.       Philipp (Ex. 1005) ...............................................................................24

        D.       Rappoport (Ex. 1006) ..........................................................................25

        E.       Moran (Ex. 1007) ................................................................................27

        F.       Joo (Ex. 1008) .....................................................................................30

VIII. Application of Prior Art to the Challenged Claims .......................................32

        A.       Ground I: Claims 1–13, 15–16, and 18 Are Unpatentable Under
                 35 U.S.C. § 103 Over the Combination of Kuriki and Mikladal. .......32

                 1.        Claims 1 and 7...........................................................................33

                                                         - ii -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 5 of 85 PageID #: 394



            2.       Claims 2 and 8...........................................................................49

            3.       Claims 3 and 9...........................................................................50

            4.       Claims 4 and 10.........................................................................50

            5.       Claims 5 and 11.........................................................................52

            6.       Claims 6 and 12.........................................................................53

            7.       Claims 13 and 16.......................................................................54

            8.       Claims 15 and 18.......................................................................54

      B.    Ground II: Claims 14 and 17 Are Unpatentable Under 35
            U.S.C. § 103 Over the Combination of Kuriki, Mikladal, and
            Philipp. ................................................................................................55

      C.    Ground III: Claims 19 and 20 Are Unpatentable Under 35
            U.S.C. § 103 Over the Combination of Kuriki, Mikladal, and
            Rappoport. ...........................................................................................58

      D.    Ground IV: Claims 1–13, 15–16, and 18 Are Unpatentable
            Under 35 U.S.C. § 103 Over the Combination of Moran and
            Joo........................................................................................................61

            1.       Claims 1 and 7...........................................................................62

            2.       Claims 2 and 8...........................................................................69

            3.       Claims 3 and 9...........................................................................71

            4.       Claims 4 and 10.........................................................................71

            5.       Claims 5 and 11.........................................................................72

            6.       Claims 6 and 12.........................................................................72

            7.       Claims 13 and 16.......................................................................73

            8.       Claims 15 and 18.......................................................................74

      E.    Ground V: Claims 14 and 17 Are Unpatentable Under 35
            U.S.C. § 103 Over the Combination of Moran, Joo, and Philipp. ......75


                                                    - iii -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 6 of 85 PageID #: 395



      F.       Ground VI: Claims 19 and 20 Are Unpatentable Under 35
               U.S.C. § 103 Over the Combination of Moran, Joo, and
               Rappoport. ...........................................................................................76

IX.   Conclusion .....................................................................................................77




                                                      - iv -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 7 of 85 PageID #: 396




I.    INTRODUCTION
      Samsung Display Co., Ltd. (“Petitioner”) petitions for inter partes review

seeking cancellation of claims 1–20 of U.S. Patent No. 9,256,311 (Ex. 1001, “’311

patent”), assigned to Solas OLED, Ltd. (“Patent Owner”).

      The ’311 patent relates to capacitive touch sensors for touchscreen devices,

which use electrodes that create an electric field and measure changes in capacitance

caused by a user’s touch, allowing the sensor to determine that touch’s location on

the screen. Ex. 1001, 1:24–33, 3:31–64. More specifically, it is directed to touch

sensors with “mesh” electrodes, composed of a grid of extremely fine metallic lines

that appear near-transparent to the human eye (similar to a screen door in a house).

Id., 5:56–6:13. These “mesh” electrodes can be laid under protective glass and over

a display screen without obstructing a user’s view of that underlying display. Id.,

8:3–10; Ex. 1023, ¶ 45.

      The use of mesh electrodes for capacitive touch sensors was well known in

the art. Indeed, during the prosecution of the ’311 patent, claims directed to mesh

electrodes were repeatedly rejected by the Examiner over the prior art. See, e.g., Ex.

1002 at 68–85 (March 19, 2015 Non-Final Rejection) (discussing “the mesh bars

from the touch screen sensor taught by Frey”). Further, U.S. Patent No. 8,722,314

to Kuriki (Ex. 1003) and International Publication No. WO 2010/099132 to Moran




                                        -1-
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 8 of 85 PageID #: 397



et al. (Ex. 1007) each disclosed mesh electrodes made of the same materials as the

electrodes described by the ’311 patent.

      To secure allowance of the ’311 patent, the applicants ultimately added a

further limitation to the claims: that the touch sensor and the substrate on which it is

mounted “wrap around one or more edges of a display.” Ex. 1001, 9:5–7, 9:44–46.

      In allowing the claims, however, the Examiner was not apprised of prior art

that specifically taught wrapping capacitive touch sensors around the edge of a

device’s display screen onto the sides of that device. For instance, U.S. Patent No.

9,395,851 to Mikladal et al. (Ex. 1004) and U.S. Patent Application Pub. No.

2008/0223708 to Joo et al. (Ex. 1008) both disclose wrapping capacitive touch

sensors around the edge of a display and explain numerous benefits of extending the

touch screen in that way. This prior art, which was never presented to the Examiner,

demonstrates that the ’311 patent’s claims reflect no more than a straightforward

application of a known technique to devices disclosed in the prior art to achieve a

predictable result.

      In particular, challenged claims 1–20 of the ’311 patent are unpatentable as

obvious over the combination of Kuriki (disclosing a capacitive touchscreen sensor

with mesh electrodes) and Mikladal (teaching wrapping the electrodes of a

capacitive touch sensor around the edges of a display), as explained in Grounds I–

III below. These references are prior art under 35 U.S.C. § 102(e). And even if



                                         -2-
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 9 of 85 PageID #: 398



Patent Owner were to prove entitlement to a priority date antedating these references,

claims 1–20 would also be obvious over the combination of Moran (capacitive

touchscreen sensor with mesh electrodes) and Joo (wrapping around the edges of a

display), as explained in Grounds IV–VI below.

II.    STANDING, MANDATORY NOTICES, AND FEE
       AUTHORIZATION

       Grounds for Standing: Pursuant to 37 C.F.R. § 42.104(a), Petitioner certifies

that the ’311 patent is available for IPR and that Petitioner is not barred or estopped

from requesting an IPR challenging the ’311 patent on the grounds identified in this

petition.

       Real Party-in-Interest: Petitioner identifies Samsung Display Co., Ltd.,

Samsung Electronics Co., Ltd., and Samsung Electronics America, Inc. as real

parties in interest.

       Related Matters: Patent Owner has asserted the ’311 patent in litigation

against the real parties-in-interest in Solas OLED Ltd. v. Samsung Display Co., Ltd.,

et al., Case No. 2:19-cv-00152-JRG (E.D. Tex.).

       Lead and Back-Up Counsel: Petitioner designates David A. Garr (Reg. No.

74,932, dgarr@cov.com) as lead counsel and Grant D. Johnson (Reg. No. 69,915,

gjohnson@cov.com) as back-up counsel, both of Covington & Burling LLP, One

CityCenter, 850 Tenth Street, NW, Washington, DC 20001 (postal and hand

delivery), telephone: 202-662-6000, facsimile: 202-662-6291.


                                         -3-
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 10 of 85 PageID #: 399



        Petitioner also designates Peter P. Chen (Reg. No. 39,631) as back-up counsel,

 of Covington & Burling LLP, 3000 El Camino Real, 5 Palo Alto Square, 10th Floor,

 Palo Alto, CA 94306 (postal and hand delivery), telephone: 650-632-4700, facsimile:

 650-632-4800.

        Service Information: Service information is provided in the designation of

 counsel above. Petitioner consents to service of all documents via electronic mail at

 the email addresses above and at Samsung-Solas@cov.com.

        Fee Authorization: The Office is authorized to charge $33,500 ($15,500

 request fee and $18,000 post-institution fee) for the fees set forth in 37 C.F.R.

 § 42.15(a) (as well as any additional fees that might be due) to Deposit Account No.

 60-3160.

 III.   SUMMARY OF CHALLENGE

        Petitioner requests IPR of claims 1–20 of the ’311 patent under 35 U.S.C.

 § 103 based on the following prior art combinations:

        • Ground I: Claims 1–13, 15, 16, and 18 are obvious over the combination
            of Kuriki and Mikladal.

        • Ground II: Claims 14 and 17 are obvious over the combination of Kuriki,
            Mikladal, and Philipp.

        • Ground III: Claims 19 and 20 are obvious over the combination of Kuriki,
            Mikladal, and Rappoport.




                                         -4-
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 11 of 85 PageID #: 400




         • Ground IV: Claims 1–13, 15, 16, and 18 are obvious over the combination
               of Moran and Joo.

         • Ground V: Claims 14 and 17 are obvious over the combination of Moran,
               Joo, and Philipp.

         • Ground VI: Claims 19 and 20 are obvious over the combination of Moran,
               Joo, and Rappoport.

         The earliest claimed priority date of the ’311 patent is October 28, 2011. Each

 of the asserted references is available as prior art under 35 U.S.C. § 102 (pre-AIA)1,

 as shown in the following table.

                                                                           Availability
     Exhibit             Reference                    Date(s)
                                                                           as Prior Art
     Ex. 1003 U.S. Patent No.              May 13, 2014 (issued);          § 102 (e)
              8,722,314 (“Kuriki”)
                                           May 27, 2011 (filed)
     Ex. 1004 U.S. Patent No.              July 19, 2016 (issued);         § 102 (e)
              9,395,851 (“Mikladal”)
                                           September 5, 2012 (§ 371
                                           filing date);
                                           March 7, 2011 (PCT filing
                                           date)
     Ex. 1005 U.S. Patent Application      May 5, 2011 (published);        §§ 102 (a)
              Pub. No. 2011/0102361                                        and (e)
              (“Philipp”)                  October 29, 2009 (filed)




 1
     Because the application for the ’311 patent was filed prior to March 16, 2013, the

 pre-AIA conditions for patentability apply.


                                           -5-
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 12 of 85 PageID #: 401




                                                                          Availability
  Exhibit            Reference                       Date(s)
                                                                          as Prior Art
  Ex. 1006 U.S. Patent Application         August 30, 2012                § 102 (e)
           Pub. No. 2012/0218219           (published);
           (“Rappoport”)
                                           February 28, 2011 (filed)
  Ex. 1007 International Publication       September 2, 2010              §§ 102 (a),
           No. WO 2010/099132              (published)                    (b), and (e)
           (“Moran”)
  Ex. 1008 U.S. Patent Application         September 18, 2008             §§ 102 (a),
           Pub. No. 2008/0223708           (published);                   (b), and (e)
           (“Joo”)
                                           August 28, 2007 (filed)


 IV.   OVERVIEW OF THE ’311 PATENT

       The ’311 patent (Ex. 1001) is entitled “Flexible Touch Sensor” and was filed

 on October 28, 2011. The ’311 patent states that it “generally relates to touch sensors”

 for use in “touch screens,” Ex. 1001, 1:5–23, and more specifically to capacitive

 touch sensors, id., 1:27–33; Ex. 1023, ¶¶ 65–66.

       The ’311 patent explains that conventional capacitive touch sensors are made

 up of “capacitively coupled” “drive” and “sense” electrodes wherein a “voltage [is]

 applied to the drive electrode” which in turn “induce[s] a charge on the sense

 electrode” that is capacitively (but not electrically) coupled to that drive electrode.

 Ex. 1001, 3:31–64. “[T]he amount of charge induced [on the sense electrode] may

 be susceptible to external influence (such as a touch or the proximity of an object).”

 Id., 3:39–43. Thus, by “measur[ing] the change in capacitance” between the drive

 and sense electrodes, a device can “determine the position of the touch or proximity

                                          -6-
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 13 of 85 PageID #: 402



 within the touch-sensitive area(s) of [the] touch sensor.” Id., 3:31–64; Ex. 1023,

 ¶ 67.

         The ’311 patent purports to improve on conventional sensors by using

 electrodes made from “metal-mesh” technology, Ex. 1001, 7:44–47, in which the

 electrode is composed of “fine lines of metal” intersecting to form a mesh pattern,

 id., 5:56–6:13. The ’311 patent explains that when such “metal-mesh” electrodes

 are formed on a “substantially flexible substrate,” the resulting touch sensor can be

 wrapped around the edge of a device, id., 7:37–8:2; Ex. 1023, ¶ 68.

         The challenged claims are generally directed to an apparatus (or device)

 comprising a touch sensor disposed on a substantially flexible substrate.            In

 particular, each independent claim requires:

          i)    “a substantially flexible substrate”;

         ii)    “a touch sensor disposed on the substantially flexible substrate”;

         iii)   that the “touch sensor” comprises “electrodes made of flexible

                conductive material configured to bend with the substantially flexible

                substrate”;

         iv)    that the electrodes comprise “first and second conductive lines that

                electrically contact one another at an intersection to form a mesh grid”;

                and




                                            -7-
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 14 of 85 PageID #: 403



        v)   that “the substantially flexible substrate and the touch sensor are

             configured to wrap around one or more edges of a display.”

 Ex. 1001, claims 1 and 7 (emphasis added).

       Regarding the “mesh grid” requirements of limitation iv), mesh electrodes are

 described at 2:15–20 and 5:56–6:30 of the ’311 patent. As shown in annotated

 Figure 2A below, the “mesh pattern” 20 of each electrode is “formed from . . .

 intersections between lines 22A with lines 22B of conductive material,” Ex. 1001,

 5:67–6:3; Ex. 1023, ¶ 68:




       As for the “wrap around” requirements of limitation v), the patent’s only

 relevant discussion is located at 7:37–8:10 and Figure 7 of the disclosure. The ’311



                                        -8-
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 15 of 85 PageID #: 404



 patent states that “touch-sensitive apparatus” 612 is “wrapped around” display 613,

 and that an “electrode pattern” made from “metal-mesh technology with a copper,

 silver, or other suitable metal mesh” is “disposed on a surface” of “substrate 602.”

 Ex. 1001, 7:37–48. It also states that the “[s]ubstrate 602 and the conductive material

 of the electrode pattern may be flexible, enabling the conductive material to wrap

 around the left and right edges of the surface to left-side and right-side surfaces,” id.,

 7:48–51; Ex. 1023, ¶¶ 71–72, as illustrated in annotated Figure 7:




       A.     Prosecution History

       The independent claims of the application that issued as the ’311 patent

 originally contained only limitations i)–iii) listed above. Ex. 1002, 503–505. After



                                           -9-
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 16 of 85 PageID #: 405



 the Examiner rejected these claims as obvious, the applicants amended the claims

 over the next two years to add the “mesh grid” requirements of limitation iv)—

 namely: “wherein the flexible conductive material of the drive or sense electrodes

 comprises first and second conductive lines that electrically contact one another at

 an intersection to form a mesh grid.” Id., 218–229 (June 26, 2014 Amendment),

 113–122 (March 3, 2015 Amendment).

       Yet even after the addition of these “mesh grid” requirements, the Examiner

 continued to reject all of the pending claims as obvious over U.S. Patent Application

 Publication No. 2009/0219257 to Frey et al. (“Frey I”). The Examiner cited “the

 mesh bars from the touch screen sensor taught by [Frey I],” as disclosing the “mesh

 grid” requirements. Id., 68–85 (March 19, 2015 Non-Final Rejection).

       In response to the obviousness rejections over Frey I, the applicants further

 amended the claims to add the “wrap around” requirements of limitation v)—namely,

 “wherein . . . the substantially flexible substrate and the touch sensor are configured

 to wrap around one or more edges of a display.” Id., 54–64 (June 19, 2015

 Amendment). The Examiner then allowed the claims in the next office action. Id.,

 20–24 (September 24, 2015 Notice of Allowance).

 V.    LEVEL OF ORDINARY SKILL

       A person of ordinary skill in the art of the ’311 patent at the time of the alleged

 invention would have had a relevant technical degree in Electrical Engineering,



                                          - 10 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 17 of 85 PageID #: 406



 Computer Engineering, Computer Science, Materials Science, or the like, and 2–3

 years of experience in touch sensor design. Ex. 1023, ¶¶ 77–78.

 VI.      CLAIM CONSTRUCTION

          In IPR proceedings, claims are now construed “in accordance with their

 ordinary and customary meaning.” 37 C.F.R. § 42.100(b); see Phillips v. AWH

 Corp., 415 F.3d 1303, 1313 (Fed. Cir. 2005). While Petitioner does not believe that

 any specialized constructions are necessary, for clarity Petitioner discusses the

 meaning of certain claim limitations below.

          A.    “to form a mesh grid”

          The independent claims of the ’311 patent specify that “the flexible

 conductive material of the drive or sense electrodes comprises first and second

 conductive lines that electrically contact one another at an intersection to form a

 mesh grid.” Thus, the claims require that at least one electrode (either the drive or

 sense electrode) be in the form of a mesh grid.2 This accords with the specification’s




 2
     That is, the claims do not contemplate a first conductive line from a first electrode

 that electrically contacts a second conductive line from a second electrode. Indeed,

 this would cause an electrical short and prevent the electrodes from functioning as

 a capacitive touch sensor. Ex. 1023, ¶ 81.


                                           - 11 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 18 of 85 PageID #: 407



 use of the term “mesh” to describe a single electrode composed of intersecting “fine

 lines of conductive material.” Ex. 1001, 2:15–20, 5:56–6:30, Ex. 1023, ¶¶ 81–82.

       B.        “the substantially flexible substrate and the touch sensor are
                 configured to wrap around one or more edges of a display”
       This limitation raises two separate issues: the meanings of (1) “edges of a

 display”; and (2) “touch sensor . . . to wrap around [the] one or more edges.” For

 purposes of determining whether to institute trial, however, neither of these issues

 need be resolved by the Board, as discussed below.

                 1.    “edges of a display”

       First, the ’311 patent does not expressly define what it means to wrap around

 an “edge of a display.” It describes “particular embodiments” in which a touch

 sensor “may wrap around an edge 603 of example mobile phone 600,” and “other

 particular embodiments” in which the touch sensor is “wrapped around a curved

 surface.” Ex. 1001, 7:55–60 (emphasis added). It further states that the sensor:

       may be wrapped over surfaces that are substantially perpendicular to
       each other or, if there is no substantial distinction between surfaces
       (such as, for example, a pebble-shaped or curved device), and angle of
       deviation between the surfaces of 45 degrees or greater.

 Id., 7:61–65.

       For this petition, however, the Board need not resolve whether an “edge of a

 display” must be an edge between “flat portions of surfaces” (such as “substantially

 perpendicular” surfaces) or if the claims may additionally encompass a sensor that

                                          - 12 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 19 of 85 PageID #: 408



 is “wrapped around a curved surface.”             As explained below, each prior art

 combination (Kuriki–Mikladal and Moran–Joo) discloses a touch sensor wrapped

 around an edge between substantially perpendicular surfaces of a display, and

 therefore teaches this limitation under any of these interpretations.

              2.     “touch sensor . . . to wrap around [the] one or more edges”

       Second, while the claims require the “touch sensor” to wrap around a display

 edge, they do not specify which portion of the sensor that is to be so “wrapped.”

 And the “touch sensor 10” of the ’311 patent may include not only touch-sensitive

 electrodes, see Ex. 1001, 3:31–4:36, but also “tracks 14” and “ground lines” that

 couple the electrodes to bond pads (for connection to outside circuitry), see id., 5:15–

 44, 5:19–21 (“Tracks 14 may extend into or around . . . the touch sensitive area(s)

 of touch sensor 10.”) (emphasis added), Fig. 1. Claims 2 and 8 of the ’311 patent

 also support this understanding, expressly requiring that “the touch sensor further

 comprises tracking . . . to provide drive or sense connections.” Thus, the claimed

 “touch sensor” may encompass tracks (“tracking”) in addition to electrodes.

       Further, the claims’ recitation of a “touch sensor . . . configured to wrap

 around one or more edges of a display” does not expressly require that the touch-

 sensitive portion of the touch sensor be configured for wrapping around a display

 edge. However, for this petition, the Board need not resolve whether these claims

 require the touch-sensitive portion of the touch sensor to wrap around one or more



                                          - 13 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 20 of 85 PageID #: 409



 edges of a display (as opposed to, more broadly, a device (or apparatus) in which a

 different portion of the touch sensor (i.e., the tracking) is configured for wrapping

 around a display edge), because the prior art teaches or suggests wrapping touch-

 sensitive portions of a touch sensor around the edges of a display, as explained below.

 VII. OVERVIEW OF THE PRIOR ART

       As discussed above, the ’311 patent’s claims are directed to flexible capacitive

 touch sensors with two main features: (1) “mesh” electrodes and (2) wrapping the

 touch sensor around an edge of a display. Both were well known in the art.

       Regarding the first feature, it is clear from the prosecution history that

 capacitive touch sensors using mesh electrodes were not novel. For example, as the

 Examiner explained, Frey I (one of several 3M prior art patent applications directed

 to this technology) described a capacitive touch sensor with “two dimensional[]

 mesh” electrodes made up of the same materials (PET substrate and metal electrodes)

 as those described and claimed by the ’311 patent, Ex. 1013, ¶¶ [0057]–[0061],

 [0074]–[0077], [0080]; see also Ex. 1023, ¶¶ 53–54, 97, 100–103 (citing Exs. 1005,

 1007, 1013, 1014).

       Similarly, the assignee and inventors of the ’311 patent had themselves

 authored several prior art references teaching the use of mesh electrodes in

 capacitive touch screens (though these were not disclosed to the Examiner during

 prosecution).    For example, U.S. Patent Application Publication No. US



                                         - 14 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 21 of 85 PageID #: 410



 2010/0045632 (Ex. 1010), which has the same lead inventor (Esat Yilmaz) and

 assignee (Atmel Corp.) as the ’311 patent, was published a year and a half before

 the ’311 patent was filed (and is thus prior art under Section 102(b)), and described

 “capacitive touch sensor[s]” in which “each drive and/or sense electrode is made of

 a mesh or filigree pattern of interconnected lines of highly conductive material” that

 is “practically invisible,” Ex. 1010, ¶¶ [0021]–[0022], those mesh electrodes being

 formed of metal on a PET substrate, id., ¶ [0120]. See also Ex. 1023, ¶¶ 49–52

 (citing Exs. 1010, 1011, 1012).

       Other references similarly disclosed capacitive touch sensors made up of

 mesh electrodes. Ex. 1023, ¶¶ 45–48, 55 (citing Exs. 1020, 1022). These include

 U.S. Patent No. 8,722,314 (“Kuriki”) and International Publication No. WO

 2010/099132 (“Moran”), as discussed below and relied on as primary references for

 Grounds I–III and IV–VI (respectively).

       As for the second feature—wrapping a flexible capacitive touch sensor around

 an edge of a display—this too was a well-known technique, as confirmed by prior

 art that was not before the Examiner. In particular, U.S. Patent No. 9,395,851

 (“Mikladal”) and U.S. Patent Application Pub. No. 2008/0223708 (“Joo”), as

 discussed below and relied on in Grounds I–III and IV–VI (respectively), disclosed

 wrapping a flexible touch sensor around edges of a device’s display in order to form




                                         - 15 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 22 of 85 PageID #: 411



 touch-sensitive regions on the sides of that device. See also Ex. 1023, ¶¶ 60–64, 93–

 96, 104–106 (citing Exs. 1004, 1008, 1015, 1016, 1021).

       A.     Kuriki (Ex. 1003)

       Kuriki is a U.S. Patent filed on May 27, 2011, which is prior art under 35

 U.S.C. § 102(e). Kuriki was not cited or considered during prosecution.

       Like the ’311 patent, Kuriki is directed to capacitive touch panels. Kuriki

 discloses “conductive sheet[s] . . . for use in a projected capacitive touch panel,” Ex.

 1003, 1:17–20, and approaches for “forming an electrode for a touch panel” in that

 conductive sheet, id., 2:37–50; Ex. 1023, ¶ 83. As discussed further below, Kuriki’s

 electrodes are formed using patterns of square “small lattices 18”—i.e., mesh

 electrodes. Ex. 1003, 12:9–25; Ex. 1023, ¶ 83.

       As shown in annotated Figure 9 below, Kuriki’s “conductive sheet 10” is a

 layered structure, in which silver “conductive layers” (116a/116b) are formed into

 “small lattice 18” patterns on either side of a PET substrate (“transparent support

 102”). Ex. 1003, 11:64–12:25; Ex. 1023, ¶ 84:




                                          - 16 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 23 of 85 PageID #: 412



         As illustrated in Figure 8, the conductive sheet 10 includes a “sensing region

 150,” which “has very fine conductive patterns” and is used for capacitive sensing.

 Ex. 1003, 11:64–12:25.       The sheet also features “terminal wiring region[s]”

 (152a/152b), which include “terminal wiring patterns” used to connect the sensing

 region “to an IC circuit for position calculation or the like,” id., 18:35–53; Ex. 1023,

 ¶ 85:




         As shown in annotated Figures 10 and 11 below, the conductive patterns of

 the sensing region are essentially in the shape of a checkerboard of connected mesh

 electrodes, which are disposed on the PET substrate. Ex. 1003, 12:9–46; Ex. 1023,

 ¶¶ 86–87, 90–91. The squares that make up the checkerboard are described by


                                          - 17 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 24 of 85 PageID #: 413



 Kuriki as “conductive large lattices 16A,” Ex. 1003, 12:10–13, and the checkerboard

 formation is described as “conductive pattern 26A,” id., 12:40–46. These “large

 lattice” squares “each contain a combination of two or more small lattices 18.” Id.,

 12:13–15. These small lattices may have a “smallest square shape,” id. at 12:24–25,

 and therefore form a mesh, Ex. 1023, ¶¶ 86–87, 90–91. As Kuriki explains, when

 the “side length of each small lattice” (the length of each square in the mesh) is

 within a preferred range of “50 to 500 μm, more preferably 150 to 300 μm . . . , the

 conductive sheet has high transparency and thereby can be suitably used at the front

 of a display device with excellent visibility.” Ex. 1003, 12:34–39 (emphasis added):




                                        - 18 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 25 of 85 PageID #: 414




       The above Figures 10 and 11 illustrate the top or “upper” surface 102a of the

 conductive sheet 10, and the patterns formed in the conductive layer 116a layered

 on that top surface. Ex. 1003, 12:9–13. The bottom surface 102b of the conductive

 sheet features similar, complementary patterns, which are formed in conductive

 layer 116b, and which are illustrated in Figures 12 and 13 of Kuriki. Id., 12:47–13:3.




                                         - 19 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 26 of 85 PageID #: 415



 Again, these include generally square-like 3 “conductive large lattices 16B,”

 patterned into a checkerboard (“conductive pattern 26B”), where the large lattices

 “each contain a combination of two or more small lattices.” Id., 12:47–51, 12:64–

 13:1; Ex. 1023, ¶¶ 86–87, 90–91.

          “When a finger comes into contact” with Kuriki’s touchscreen, “signals are

 transmitted from the first conductive pattern 26A and the second conductive pattern

 26B corresponding to the finger touch position to the IC circuit. The finger touch

 position is calculated in the IC circuit based on the transmitted signals.” Ex. 1003,

 18:46–53; Ex. 1023, ¶ 87.

          Kuriki further teaches attaching its capacitive sensor to a display. First,

 Kuriki’s “conductive sheet 10” “is placed on a liquid crystal display panel 170,” as

 shown in annotated Figure 8 below, Ex. 1003, 21:3–7; Ex. 1023, ¶ 92. Then, the

 “terminal wiring region[s]” (152a and 152b) of the conductive sheet (which connect

 the sensing region 150 to the controller circuitry) are “bent toward the back side of

 the sensing region 150 (i.e. the back side of the liquid crystal display panel 170),” as

 illustrated by annotated Figure 18 below. Ex. 1003, 21:8–12, Fig. 15 at S106. In



 3
     Technically, the “conductive large lattices 16B” in Figures 12 and 13 of Kuriki are

 “approximately octagonal” in shape, with four long sides and four short sides. Ex.

 1003, 14:65–15:4.


                                           - 20 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 27 of 85 PageID #: 416



 other words, the terminal wiring regions are wrapped around the edges of the display

 panel, Ex. 1023, ¶ 93:




                                        - 21 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 28 of 85 PageID #: 417




       B.     Mikladal (Ex. 1004)
       Mikladal is a U.S. Patent that was filed on Sept. 5, 2012. Mikladal claims

 priority to PCT Application No. PCT/FI2011/050197, which was filed in English on

 March 7, 2011, designating the United States, and was published on September 9,

 2011 in English as WO 2011/107666. Id.; Ex. 1009. Mikladal is thus prior art under

 35 U.S.C. § 102(e). Mikladal was not cited or considered during prosecution.

       Like the ’311 patent (and Kuriki), Mikladal is also directed to capacitive touch

 sensors—and more specifically, a “capacitive touch sensitive film” that “can be used

 as a touch sensitive element in a touch sensing device.” Ex. 1004, 3:37–4:11.

 Mikladal explains that its “touch sensitive film is formed as a flexible structure so

 as to allow bending thereof along a three dimensional surface,” such as around the

 edges of a device. Id., 7:19–26. Such a flexible touch sensor is illustrated by Figure

 3 of Mikladal, which depicts “a mobile electronic device 6 having a touch screen 7

 comprising a touch sensitive film 1 according to Figure 1 bent or deformed along

 the curved side surface of the device having a radius of curvature r=4mm,” id., 14:1–

 5; Ex. 1023, ¶¶ 94–95:




                                         - 22 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 29 of 85 PageID #: 418




       Also like the ’311 patent (and Kuriki), Mikladal discloses that its capacitive

 touch sensor is made up of a metal “conductive layer 3” (Ex. 1004, 12:10–11, 6:43–

 63 (“conductive layer comprises . . . metal nanowires”)) layered on a PET “substrate

 2” (id., 12:10–25 (“substrate can be made of, for example, polyethylene

 terephthalate PET”), and placed “on a display as a part of a touch screen,” id., 12:26–

 35; Ex. 1023, ¶ 96.

       Mikladal stresses that the flexibility of its capacitive touch sensor allows for

 significant advantages:

       Flexibility and/or deformability of the touch sensitive film in
       combination with the unique sensitivity performance thereof opens
       entirely novel possibilities to implement touch sensing devices. For

                                         - 23 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 30 of 85 PageID #: 419



       example, a touch sensitive film serving as the user interface of a mobile
       device can be bent or formed to extend to the device edges so that the
       touch sensitive film can cover even the entire surface of the device. In
       a touch sensitive film covering different surfaces of a three-dimensional
       device, there can be several touch sensing regions for different
       purposes. One sensing region can cover the area of a display to form a
       touch screen. Other sensing regions e.g. at the sides of the device can
       be configured to serve as touch sensitive element replacing the
       conventional mechanical buttons, e.g. the power button.

 Ex. 1004, 7:31–44 (emphasis added); Ex. 1023, ¶ 94.

       C.     Philipp (Ex. 1005)

       Philipp is a U.S. Patent Application Publication filed on October 29, 2009 and

 published on May 5, 2011, and thus is prior art under 35 U.S.C. §§ 102(a) and (e).

 Philipp was not cited or considered during prosecution.

       Philipp is directed to capacitive touch sensors for display that use mesh

 electrodes to determine the location of a touch on the touchscreen. Ex. 1005, abstract,

 ¶¶ [0006], [0018], [0041]–[0042]. Specifically, Philipp teaches the use of mesh

 electrodes in which the conductive lines that make up the mesh electrode are “wavy

 lines . . . formed of a series of curves,” as depicted in Figure 4 of Philipp. Id.,

 ¶¶ [0041]–[0045] (emphasis added). As Philipp explains, the use of wavy lines helps

 to “avoid creating moiré patterns when overlaying a display,” id.; Ex. 1023, ¶ 97:




                                         - 24 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 31 of 85 PageID #: 420




       D.     Rappoport (Ex. 1006)

       Rappoport is a U.S. Patent Application Publication filed on February 28, 2011,

 which is prior art under 35 U.S.C. § 102(e). Rappoport was not cited or considered

 during prosecution.

       Rappoport is directed to devices featuring capacitive touch screen sensor

 overlaying a display. Ex. 1006, ¶¶ [0029], [0049]. Rappoport teaches that at the

 edges of the device, “conductive traces . . . such as control lines 62” that are “formed

 on the surface of [a] substrate 60” are “enlarged (e.g. widened and/or thickened) in



                                          - 25 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 32 of 85 PageID #: 421



 the vicinity of bend axis 56,” along which axis the conductive lines are bent around

 the edge of the device, as illustrated by Figures 7–9 of Rappoport below. Id.,

 ¶¶ [0038]–[0043]. As Rappoport explains, such widened/thickened lines are

 advantageous to “help ensure that traces 62 are not cracked or otherwise damaged”

 when bent around the edge, id., ¶ [0043]; Ex. 1023, ¶¶ 98–99:




                                        - 26 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 33 of 85 PageID #: 422




       E.     Moran (Ex. 1007)

       Moran is an International Publication of a PCT application that was filed on

 February 24, 2010, designating the United States, and published in English on

 September 2, 2010, and thus is prior art under 35 U.S.C. §§ 102(a), (b), and (e).

       Moran was not cited or considered during prosecution. Moran shares much

 of the substantive disclosure of the Frey I patent that was applied during prosecution,

 and found to disclose the “mesh grid” claim requirement, Ex. 1002 at 68–85 (March

 19, 2015 Non-Final Rejection)). Like Frey I, Moran lists Matthew H. Frey as an

 inventor and 3M as an assignee. Unlike Frey I, however, Moran further expressly

 discloses that both the drive and sense electrodes (which Moran refers to as

 “micropatterns”) are disposed on the same surface of the substantially flexible

 substrate. Ex. 1007, 8:29–9:5 (“[t]he second conductive micropattern may be


                                         - 27 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 34 of 85 PageID #: 423



 disposed on the same substrate as the first conductive micropattern”), 6:7–26

 (stating that both conductive micropatterns are “patterned onto the surface of the

 substrate in a mesh geometry . . . provided that the second conductive

 micropattern . . . is electrically isolated from the first conductive micropattern”). Ex.

 1023, ¶ 100.

       Moran is generally directed to “capacitive touch screen sensors that are

 integrated with electronic displays.” Ex. 1007, 7:4–9, 6:7–26. Specifically, Moran’s

 “touch screen sensors” are “micropatterned substrates that comprise a visible light

 transparent substrate and at least two electrically conductive micropatterns disposed

 on or in the visible light transparent substrate.” Id., 4:18–26. These sensors are

 “overla[id]” onto “a viewable portion of the information display” screen, id., 6:30–

 7:3, and connected to circuitry that “driv[es] the conductive micropatterns with

 electrical signals for the purpose of capacitively detecting the presence or location

 of a touch event to an information display,” id., 6:7–26; Ex. 1023, ¶¶ 100–101.

       Moran discloses that “[p]referred conductive micropatterns include regions

 with two dimensional meshes (or simply, meshes), where a plurality of linear

 micropattern features (often referred to as conductor traces or metal traces) such as

 micropatterned lines define enclosed open areas within the mesh,” as illustrated by

 Figure 2 of Moran, Ex. 1007, 9:17–22, Ex. 1023, ¶ 101:




                                          - 28 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 35 of 85 PageID #: 424




       Moran discloses that “useful polymers for light transparent substrate 130

 include polyethylene terephthalate (PET),” Ex. 1007, 7:16–26, and that “electrically

 conductive micropattern 140 can be formed of a plurality of linear metallic features,”

 id., 7:25–26, using metals such as silver or copper, id., 22:13–15. Moran explains

 that conductive lines occupy only a small percentage of the micropatterned area

 (preferably, between 5% and 0.05%), id., 11:19–12:6, and that its micropatterns

 allow the sensor to be “visible light transparent” such that “information (e.g., text,

 images, or figures) that is rendered by the [underlying] display can be viewed



                                         - 29 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 36 of 85 PageID #: 425



 through the touch sensor,” id., 8:13–21 (emphasis added). Moran discloses that the

 PET substrate and conductive metal micropattern disposed thereon are “substantially

 planar and flexible.” Id., 8:15–16, 5:17–19; Ex. 1023, ¶¶ 102–103.

       F.      Joo (Ex. 1008)
       Joo is a U.S. Patent Application Publication that was filed on August 28, 2007

 and published on September 18, 2008, and thus is prior art under 35 U.S.C. §§ 102(a),

 (b), and (e). Joo was not cited or considered during prosecution.

       Joo is directed to a transparent “touch sensitive”/“touch input portion” of a

 mobile device that overlays a display. Ex. 1008, ¶ [0037]. Joo discloses that “touch

 input portion 94” is molded on a surface of “support member” 96, that both the touch

 input portion and the support member on which it is molded overlay “display unit

 92,” id., ¶¶ [0060]–[0063], and that the support member is “formed of a transparent

 material, such as a polycarbonate material,” id., ¶¶ [0061], [0042], [0053]. This

 “touch input portion 94” is illustrated by Figure 7 of Joo. Id., ¶ [0061], Ex. 1023,

 ¶¶ 104–105:




                                        - 30 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 37 of 85 PageID #: 426




        As shown in annotated figure 7, Joo discloses that its “display unit 92 is bent

 at the edge of the upper display portion 110 in the form of a curved surface, thereby

 forming a side display portion 112.” Ex. 1008, ¶ [0063] (emphasis added). As Joo

 explains, this provides a significant advantage: because “the touch input portion for

 generating input when being touched is extendingly formed at the side surface

 portion of the cover as well as the upper surface portion thereof . . . a separate side

 key is not required to be mounted at the side surface of the terminal for generating

 input, thereby simplifying the manufacturing process thus to reduce the

 manufacturing cost and make the enhanced appearance of the terminal.” Id.,

 ¶ [0067]; Ex. 1023, ¶ 106.


                                         - 31 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 38 of 85 PageID #: 427




 VIII. APPLICATION OF PRIOR ART TO THE CHALLENGED CLAIMS
       The framework for the analysis for determining obviousness is set forth in the

 well-known factors outlined in Graham v. John Deere Co., 383 U.S. 1, 17–18 (1996),

 and the Petition analyzes these Graham factors below. Grounds I–III detail how

 claims 1–20 of the ’311 patent were obvious based on the combination of Kuriki and

 Mikladal, and Grounds IV–VI detail how claims 1–20 were obvious based on the

 combination of Moran and Joo. None of the prior art references or arguments in

 Grounds I–VI were considered by the Examiner. The Wolfe Declaration (Ex. 1023)

 was also not before the Examiner. Accordingly, none of the arguments raised in this

 Petition were previously presented to the USPTO. 35 U.S.C. § 325(d).

       Further, the Grounds below are not duplicative of one another. Grounds I–III

 involve primary references that are prior art under Section 102(e) (Kuriki and

 Mikladal). To the extent that Patent Owner is able to antedate either of these

 references, Grounds IV–VI would nevertheless remain applicable, as they involve

 primary references that are prior art under Section 102(b) (Moran and Joo).

       A.    Ground I: Claims 1–13, 15–16, and 18 Are Unpatentable Under
             35 U.S.C. § 103 Over the Combination of Kuriki and Mikladal.

       Claims 1–13, 15–16, and 18 are obvious over the combination of Kuriki and

 Mikladal. Like the ’311 patent, Kuriki discloses a capacitive touch panel for a

 touchscreen, the “sensing region” of that touch panel’s “conductive sheet” composed

 of silver mesh electrodes formed on both surfaces of a flexible PET substrate, and


                                        - 32 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 39 of 85 PageID #: 428



 wrapping that flexible conductive sheet around the edges of an LCD display.

 Mikladal discloses wrapping a flexible capacitive touch sensor around the edges of

 a device’s display in order to form touch-sensitive display portions on the sides of

 the device. As explained further below, it would have been obvious for a POSA to

 use Mikladal’s teaching to improve Kuriki’s touchscreen device, and thus satisfy the

 above-listed claims. Ex. 1023, ¶¶ 107–108.

       Because neither Kuriki nor Mikladal was before the Examiner, this Petition

 does not raise the same or substantially the same prior art or arguments previously

 considered by the Examiner. 35 U.S.C. § 325(d). In particular, Mikladal discloses

 the claim limitation that the Examiner believed was missing from the prior art and

 that resulted in the allowance of the ’311 patent: a “touch sensor [] configured to

 wrap around one or more edges of a display.” Ex. 1002 at 20–24 (September 24,

 2015 Reasons for Allowance).

              1.    Claims 1 and 7

                    1[preamble]/7[preamble]: “An [apparatus/device]
                    comprising:”

       To the extent the preamble is limiting, it is disclosed by Kuriki. Kuriki

 discloses a “conductive sheet 10 [that] is placed on a liquid crystal display panel

 170,” then wrapped around that liquid crystal display panel and “electrically

 connected to an IC circuit for position calculation, etc.” to produce a “touch panel,”

 Ex. 1003, 21:3–17, whereupon “finger touch position is calculated in the IC circuit


                                         - 33 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 40 of 85 PageID #: 429



 based on the transmitted signals” from the capacitive touch sensor, id., 18:46–53;

 Ex. 1023, ¶¶ 109–110.

                       1[a]/7[a]: “a substantially flexible substrate”

          Kuriki discloses using a substantially flexible substrate, “transparent support

 102,” as the base of the “conductive sheet 10 used in the touch panel.” Ex. 1003,

 11:57–12:3. Kuriki discloses that the “particularly preferred” material for

 “transparent support 102” is “polyethylene terephthalates (PET),” because of its

 “light transmittance” and “workability.” Id., 23:3–23. Indeed, the ’311 patent

 discloses PET as a “suitable material” for its substrate. Ex. 1001, 2:38–40; Ex. 1023,

 ¶ 111.

          Kuriki further discloses that its conductive sheet 10 can be “bent toward the

 back side of the sensing region 150 (i.e. the back side of the liquid crystal display

 panel 170)” and thus wrapped around the edges of liquid crystal display panel 170,

 as depicted in Figure 18 of Kuriki (below). Ex. 1003, 21:8–12, Fig. 15 at S106; Ex.

 1023, ¶¶ 112–113. Accordingly, a POSA would understand that Kuriki’s substrate

 (“transparent support” 102) is substantially flexible. Id.:




                                           - 34 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 41 of 85 PageID #: 430




                    1[b]/7[b]: “a touch sensor disposed on the substantially
                    flexible substrate”
       Kuriki discloses a touch sensor disposed on the substantially flexible substrate.

 Specifically, Kuriki discloses that its “conductive sheet 10” is to be “used in the

 touch panel,” and that it comprises a “sensing region 150” made up of “very fine

 conductive patterns” that are “formed on” each “main surface” (upper surface 102a

 and lower surface 102b) of the “transparent support 102” (substrate). Ex. 1003,

 11:57–12:25; Ex. 1023, ¶ 114. This “sensing region” includes checkerboard-like

 conductive patterns (26A/26B) which are used to determine a “finger touch position.”

 Ex. 1003 at 18:35–53, Ex. 1023, ¶ 114. A POSA would have recognized, therefore,




                                         - 35 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 42 of 85 PageID #: 431



 that the conductive patterns formed on the surfaces of the transparent support

 (including the checkerboard-like patterns 26A/26B) satisfy this claim limitation. Id.

                     1[c]/7[c]: “the touch sensor comprising [drive or sense
                     electrodes/a plurality of capacitive nodes formed from drive
                     or sense electrodes] made of flexible conductive material
                     configured to bend with the substantially flexible substrate”
       A POSA would have recognized that the checkerboard-like “conductive

 patterns” (26A/26B) in the “sensing region 150” of Kuriki’s “conductive sheet 10”

 satisfy this limitation. Ex. 1023, ¶ 115.

       “drive or sense electrodes” / “a plurality of capacitive nodes formed
       from drive or sense electrodes”:
       Kuriki discloses that by forming “the same or different patterns . . . on each

 side (each of front and back sides) of [] transparent support 102,” “an electrode for

 a touch panel or the like can be easily formed,” Ex. 1003, 11:51–56. Kuriki also

 discloses that these electrodes are for a capacitive touch panel. Id., 1:16–20 (stating

 that Kuriki’s “capacitive sheet” is “suitable for use in a projected capacitive touch

 panel”). Such capacitive touch panels work, Kuriki explains, by “sensing change in

 an electrostatic capacitance between a human finger and a conductive film to detect

 the position touched by the fingertip.” Id., 1:35–40; Ex. 1023, ¶¶ 117–18.

       In Kuriki, the electrodes in the capacitive touch panel are the checkerboard-

 like “conductive patterns” (26A/26B) in the “sensing region 150” that comprise a




                                         - 36 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 43 of 85 PageID #: 432



 plurality of square (or square-like4) “large lattices” (16A/16B) “formed on” each

 “main surface” (top surface 102a and bottom surface 102b) of the “transparent

 support 102” (substrate). Ex. 1003, 11:57–12:25, 12:26–39 (“the first large lattices

 16A exhibit a lowered electrostatic capacitance in the detection process”), Figs. 10,

 12; Ex. 1023, ¶ 119:




         A POSA would understand Kuriki’s “large lattice” electrodes to be drive and

 sense electrodes, as described and claimed in the ’311 patent. Kuriki’s teachings



 4
     Technically, the “conductive large lattices 16B” on the bottom are “approximately

 octagonal” with four long sides and four short sides. Ex. 1003, 14:65–15:4.


                                          - 37 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 44 of 85 PageID #: 433



 closely track the ’311 patent’s disclosure of “[a] drive electrode and a sense electrode

 [that] may form a capacitive node,” where “the drive and sense electrodes may be

 capacitively coupled to each other across a space between them.” Ex. 1001, 3:31–

 39, 4:15–20 (“touch sensor 10 may have drive electrodes disposed in a pattern on

 one side of a substrate and sense electrodes disposed in a pattern on another side of

 the substrate”). Ex. 1023, ¶ 120–121.

       Kuriki also discloses that “[w]hen a finger comes into contact” with the

 touchscreen, “signals are transmitted from the first conductive pattern 26A and the

 second conductive pattern 26B corresponding to the finger touch position to the IC

 circuit. The finger touch position is calculated in the IC circuit based on the

 transmitted signals.” Id., 18:46–53; Ex. 1023, ¶¶ 116–118. Again, this closely

 tracks the ’311 patent’s disclosure that “[w]hen an object touches or comes within

 proximity of the capacitive node, a change in capacitance may occur at the capacitive

 node and controller 12 may measure the change in capacitance.” Ex. 1001, 3:44–50.

 See also Ex. 1004, 1:61–64 (“the electrodes used for supplying the signal and

 sensing the capacitive coupling are often called drive electrodes and sense electrodes,

 respectively.”); Ex. 1023, ¶¶ 116–118, 120–121.

       Accordingly, a POSA would have understood that Kuriki’s square-like “large

 lattices” (16A/16B) on either surface of the PET transparent support 102 have the

 same structure and function as the “drive or sense electrodes” which form “a



                                          - 38 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 45 of 85 PageID #: 434



 plurality of capacitive nodes” in the ’311 patent, and thus satisfy this claim element.

 Ex. 1023, ¶¶ 116–118, 120–121.

       “made from flexible conductive material configured to bend with the
       substantially flexible substrate”
       Kuriki discloses using silver for its “conductive patterns,” including the

 “conductive large lattices” (16A/16B) which serve as electrodes. Ex. 1003, 27:48–

 28:38, 29:55–30:33; Ex. 1023, ¶ 122.

       A POSA would have understood that the metallic silver from which Kuriki’s

 electrodes are formed is a flexible conductive material configured to bend with its

 PET substrate (“transparent support” 102). Kuriki discloses that its conductive sheet

 10 can be “bent toward the back side of the sensing region 150 (i.e. the back side of

 the liquid crystal display panel 170)” and thus wrapped around the edges of liquid

 crystal display panel 170, as depicted in Figure 18 of Kuriki (shown in the above

 section). The portions of the conductive sheet that are bent are the “terminal wiring

 regions” (152a/152b). Ex. 1003, 21:8–12, Fig. 15 at S106; Ex. 1023, ¶ 124. These

 regions include “terminal wiring patterns” (42a/42b) which are formed on the

 substrate (“transparent support” 102), Ex. 1003, 11:64–12:8, 19:64–21:12, using the

 same layer of silver as the conductive lattices of the sensing region 150, id., 27:48–

 28:38, 29:55–30:33; Ex. 1023, ¶ 124. Thus, the silver material that forms Kuriki’s

 conductive lattices (16A/16B) is a “flexible conductive material [silver] configured

 to bend with the substantially flexible substrate [transparent support].”


                                         - 39 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 46 of 85 PageID #: 435



       Indeed, numerous contemporary prior art references confirm that electrodes

 made from silver, such as Kuriki’s conductive patterns, are flexible and would bend

 along with a substantially flexible substrate. See, e.g., Ex. 1023, ¶¶ 122–123 (citing

 Ex. 1007, 5:17–19, 8:15–16; Ex. 1012, ¶¶ [0008]–[0009], Ex. 1018, 2955, 2962; Ex.

 1019, ¶¶ [0025], [0033], [0081]). Moreover, the ’311 patent similarly discloses that

 the electrode pattern in the flexible embodiment depicted in Figure 7 is made from

 silver, Ex. 1001, 7:44–47 (“electrode pattern of touch-sensitive apparatus 612 made

 from metal-mesh technology with a copper, silver, or other suitable metal mesh”).

 This confirms that the silver used to form Kuriki’s electrodes is a flexible material

 that can bend along with its substrate. Ex. 1023, ¶ 122.

                    1[d]/7[d]: “the flexible conductive material of the drive or
                    sense electrodes comprises first and second conductive lines
                    that electrically contact one another at an intersection to
                    form a mesh grid”
       Kuriki discloses that the flexible conductive material (silver) of its electrodes

 (“conductive large lattices” (16A/16B))) comprises a mesh pattern of small squares

 that satisfies this limitation. Ex. 1023, ¶¶ 125–126.

       Kuriki’s large lattices “each contain a combination of two or more small

 lattices 18.” Ex. 1003, 12:13–15. These small lattices may have a “smallest square

 shape,” id. at 12:24–25, and therefore form a mesh. As shown in Figures 11 and 13

 of Kuriki, the “combination of small lattices 18” is a pattern of connected squares of

 metallic silver, which constitute “first and second conductive lines that electrically


                                         - 40 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 47 of 85 PageID #: 436



 contact one another at an intersection to form a mesh grid,” as claimed. Id., 29:10–

 28; Ex. 1023, ¶ 125:




       Indeed, this is essentially the same mesh pattern that is depicted in Figure 2A

 of the ’311 patent:




                                        - 41 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 48 of 85 PageID #: 437




                    1[e]/7[e]: “the substantially flexible substrate and the touch
                    sensor are configured to wrap around one or more edges of
                    a display”
       This element is satisfied by Kuriki alone or in combination with Mikladal.

                          a)     Kuriki Alone

       To the extent that element 1[e]/7[e] is interpreted to encompass a device (or

 apparatus) in which the tracking of the touch sensor is configured to wrap around a

 display edge (as discussed above in Section VI.B), then this limitation is disclosed

 by Kuriki alone.

       Kuriki discloses that the patterned “terminal wiring regions” (152a/152b) of

 conductive sheet 10 (which, as discussed above, comprises a substantially flexible

 substrate (“transparent support” 102)) can be “bent toward the back side of the

 sensing region 150 (i.e. the back side of the liquid crystal display panel 170),” as

                                        - 42 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 49 of 85 PageID #: 438



 depicted in Figure 18 of Kuriki, Ex. 1003, 21:8–12, Fig. 15 at S106; Ex. 1023,

 ¶¶ 128–129. That is, the terminal wiring regions of Kuriki’s conductive sheet are

 wrapped around the edges of liquid crystal display panel 170. Accordingly, Kuriki

 teaches that conductive sheet 10—or at least certain portions thereof (the wiring

 regions)—is configured to wrap around one or more edges of a display:




                         b)     Kuriki in Combination with Mikladal

       Additionally, even under a narrower interpretation of this claim limitation

 requiring that a touch-sensitive portion of the touch sensor be configured for

 wrapping around a display edge, this limitation would have been obvious based on

 the combination of Kuriki and Mikladal. While Kuriki does not expressly disclose

 that its touch-sensitive conductive patterns are wrapped around the edges of its

                                      - 43 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 50 of 85 PageID #: 439



 display, it would have been obvious based on Mikladal to modify Kuriki’s touch

 panel so that the touch-sensitive portions of Kuriki’s “conductive sheet” were also

 wrapped around the edges of the display. Ex. 1023, ¶¶ 130–132

       Motivation to Combine: Kuriki and Mikladal both disclose capacitive touch

 sensors for touchscreens with the same core structures (a metal conductive layer

 formed on a PET substrate to create a transparent touch sensor that is layered over a

 display), Ex. 1003, 1:17–20, 12:9–13:9, 18:35–53, 21:3–12, 23:3–23, 27:48–28:38,

 29:55–30:33, Figs. 8/10/12/17A–B; Ex. 1004, 2:28–44, 3:34–40, 6:43–63, 12:10–

 25, 13:27–14:22, Figs. 1–2.     Mikladal, in turn, provides an express teaching,

 suggestion, or motivation for wrapping a touch sensitive film around a display edge::

       Flexibility and/or deformability of the touch sensitive film in
       combination with the unique sensitivity performance thereof opens
       entirely novel possibilities to implement touch sensing devices. For
       example, a touch sensitive film serving as the user interface of a mobile
       device can be bent or formed to extend to the device edges so that the
       touch sensitive film can cover even the entire surface of the device. In
       a touch sensitive film covering different surfaces of a three-dimensional
       device, there can be several touch sensing regions for different
       purposes. One sensing region can cover the area of a display to form a
       touch screen. Other sensing regions e.g. at the sides of the device can
       be configured to serve as touch sensitive element replacing the
       conventional mechanical buttons, e.g. the power button.




                                        - 44 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 51 of 85 PageID #: 440



 Ex. 1004, 7:31–44 (emphasis added); Ex. 1023, ¶ 133. Accordingly, a POSA would

 have been motivated to wrap touch-sensitive portions of Kuriki’s conductive sheet

 (i.e., the sensing region 150 containing the “large lattice” electrodes 16A/16B)

 around an edge of Kuriki’s display, in order to form sensing regions on the side of

 its touch panel, as taught by Mikladal. Id.

       Indeed, these advantages of wrapping a touch sensitive element around the

 side of a display would have been well known to a POSA at the time, as they were

 in fact expressly taught by a number of other contemporary prior art references. See

 Ex. 1008, ¶¶ [0063]–[0064], [0067] (“a separate side key is not required . . . , thereby

 simplifying the manufacturing process thus to reduce the manufacturing cost . . . and

 make the enhanced appearance of the terminal”); Ex. 1015, 13:42–14:8 (“on-screen

 options such as virtual VB may be presented in the active portion A’ of active region

 A that is folded over to cover sidewall SW”); Ex. 1016, 22:16–23:12 (“replaces the

 function of any mechanical buttons or switches used in prior art mobile phones”);

 Ex. 1023, ¶ 134.

       For at least these reasons, the prior art provided a teaching, suggestion, or

 motivation to wrap touch-sensitive portions of Kuriki’s conductive sheet around an

 edge of its display. The use of Mikladal’s technique in this manner constitutes

 nothing more than “application of a known technique [Mikladal’s teaching of

 wrapping a flexible touch sensor around the edges of a display] to a piece of prior



                                          - 45 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 52 of 85 PageID #: 441



 art ready for the improvement [Kuriki’s flexible touch sensor for a touchscreen

 display].” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 417 (2007); see also id. at

 415–19 (obvious to implement known techniques to improve similar devices and

 methods in known ways to yield predictable results, especially where some teaching,

 suggestion or motivation exists to do so).

       Reasonable Expectation of Success: Modifying Kuriki’s flexible conductive

 sheet using these teachings from Mikladal would have been well within the skill of

 a POSA. Ex. 1023, ¶ 135. Such a modification could be implemented, for example,

 by expanding the touch-sensitive portions of Kuriki’s conductive sheet (i.e., the

 sensing region 150 containing the “large lattice” electrodes 16A/16B) and wrapping

 those expanded touch-sensitive portions around the edges of Kuriki’s display. Id.

       As discussed above, Kuriki discloses that its PET substrate and the silver

 conductive lines of its “terminal wiring patterns” are wrapped around the edges of

 an underlying LCD panel, Ex. 1003, 21:8–12, Figs. 15/18; Ex. 1023, ¶ 137.

 Additionally, as discussed above in regards to element 1[c]/7[c], a POSA would have

 recognized that the touch-sensitive regions of Kuriki’s conductive sheet (containing

 the silver “conductive patterns” 26A/26B discussed above) would have been

 similarly flexible and amenable to being wrapped around the edges of the underlying

 display. Id.




                                        - 46 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 53 of 85 PageID #: 442



       Mikladal, which expressly disclosed wrapping a touch-sensitive conductive

 network of metal nanowires around the edge of a display (Ex. 1004, 12:10–11, 6:43–

 63, 7:19–44), would have given a POSA a reasonable expectation of success in

 modifying Kuriki in this manner. Indeed, Kuriki and Mikladal each disclose using

 the same materials for the substrate and the conductive layer that forms the touch-

 sensitive electrodes: metal wires/lines formed on a flexible PET substrate. Ex. 1003,

 23:3–23, 27:48–28:38, 29:55–30:33; Ex. 1004, 12:10–25, 6:43–63; Ex. 1023, ¶ 136.

 Moreover, both Kuriki and Mikladal come from the same field of endeavor—

 transparent capacitive touch sensors for touchscreen devices. Ex. 1003, 1:17–20,

 18:35–53; Ex. 1004, 3:34–40; Ex. 1023, ¶ 136. And both Kuriki and Mikladal

 disclose touch sensors in which a conductive layer is formed on a substrate, and the

 touch sensor is then layered on top of a display (such as an LCD). Ex. 1003, 12:9–

 13:9, 21:3–12, Figs. 8/10/12/17A–B; Ex. 1004, 13:27–14:22, 2:28–44, Figs. 1–2; Ex.

 1023, ¶ 136.

       A POSA would also have been aware of numerous contemporary prior art

 references describing how metal (in particular, silver) mesh electrodes, such as the

 “large lattices” used in the sensing region of Kuriki’s conductive sheet, are flexible

 and can be bent around the edge of a device. Ex. 1007, 9:17–22, 22:13–15, 8:13–21

 (noting that a silver/copper mesh electrode disposed on a PET substrate “may be

 substantially planar and flexible”); Ex. 1015, 8:64–9:11, 13:4–14:8; Ex. 1012,



                                         - 47 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 54 of 85 PageID #: 443



 ¶¶ [0008]–[0009] (noting that copper/silver “mesh” electrodes are “malleable” and

 “can be readily flexed or kinked without damage”); Ex. 1018, 2955, 2962

 (explaining that “outstanding flexibility makes the Ag NW [silver nanowire]

 electrode attractive for flexible electronics,” such as “capacitive touch screens.”); Ex.

 1019, ¶¶ [0025], [0033], [0081] (describing the “favorable physical and mechanical

 properties” of “robust and flexible” silver nanowire matrices for use in “touch

 screens”); Ex. 1023, ¶ 137.

       Thus, a POSA would have appreciated that Kuriki’s electrodes—like

 Mikladal’s—“can be bent or formed to extend to the device edges” so that the “the

 sides of the device can be configured to serve as touch sensitive element,” Ex. 1004,

 7:34–44. This would be nothing more than the “application of a known technique

 [wrapping a touch sensor around the edge of a touchscreen device’s display] to a

 piece of prior art ready for the improvement [Kuriki].” KSR, 500 U.S. at 417.

                     7[f]: “one or more computer-readable non-transitory
                     storage media embodying logic that is configured when
                     executed to control the touch sensor.”

       A POSA would have recognized that Kuriki incorporates logic that is

 executed on an integrated circuit and configured to control the touch sensor, which

 satisfies this claim element. Kuriki discloses that the sensing region of its conductive

 sheet is “electrically connected” (via the “terminal wiring”) “to an IC circuit

 [integrated circuit] for position calculation, etc.” Ex. 1003, 21:8–17, 18:35–53 (“The



                                          - 48 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 55 of 85 PageID #: 444



 finger touch position is calculated in the IC circuit based on the transmitted signals”).

 Such an integrated circuit would be understood as executing instructions (“logic”)

 that is stored on ROM or other non-volatile memory (computer-readable non-

 transitory storage media), since that is how integrated circuits function. Ex. 1023,

 ¶ 138.

          Indeed, the ’311 patent itself discloses that “a computer-readable storage

 medium may include a semiconductor-based or other ICs,” Ex. 1001, 8:11–34, and

 Mikladal explains that such “processing means can comprise any hardware and

 electronics as well as software tools for generating and controlling signals needed in

 operating the touch sensitive film,” Ex. 1004, 8:14–26; Ex. 1023, ¶ 139. Thus, this

 element would be at a minimum obvious in view of Kuriki’s disclosure of an

 integrated circuit to calculate the finger touch position. Id.

                2.    Claims 2 and 8

                      “The [apparatus of claim 1/device of claim 7], wherein the
                      touch sensor further comprises tracking disposed on the
                      substantially flexible substrate configured to provide drive
                      or sense connections to or from the drive or sense electrodes
                      and configured to bend with the substantially flexible
                      substrate.”

          Kuriki discloses the “tracking” of this dependent claim element. As discussed

 above, Kuriki discloses “terminal wiring patterns” 42a and 42b, which are made of

 silver and formed on the PET “transparent support” (102), in the “terminal wiring

 regions” (152a/152b) of Kuriki’s conductive sheet. Ex. 1003, 11:64–12:8, 19:64–


                                          - 49 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 56 of 85 PageID #: 445



 21:12, 27:48–28:38, 29:55–30:33. Kuriki further teaches that these terminal wiring

 patterns are wrapped along with the underlying PET support around the edges of the

 touch panel. Id., 21:8–12, Fig. 15 at S106, Fig. 18. And Kuriki discloses that these

 terminal wiring patterns extend from the checkerboard formation of electrodes

 (“conductive patterns” 26A/26B) and are “electrically connected to an IC circuit for

 position calculation, etc.” via “connectors 172a, 172b,” Ex. 1003, 21:13–17, 18:35–

 53, just like the ’311 patent’s “tracks 14” which connect the electrodes of its “touch

 sensor 10” to its “controller 12,” Ex. 1001, 5:15–55; Ex. 1023, ¶¶ 140–141.

              3.    Claims 3 and 9

                    “The [apparatus of claim 1/device of claim 7], wherein the
                    first and second conductive lines are made from one of
                    carbon nanotubes, copper, silver, a copper-based material,
                    or a silver-based material.”

       Kuriki discloses that the conductive lines of its “large lattice” electrodes are

 made from silver, and thus satisfies this dependent claim element. Ex. 1003, 27:48–

 28:38, 29:55–30:33; Ex. 1023, ¶ 142.

              4.    Claims 4 and 10

                    “The [apparatus of claim 1/device of claim 7], wherein the
                    touch sensor comprises: a single-layer configuration with
                    drive and sense electrodes disposed only on a first surface of
                    the substantially flexible substrate; or a two-layer
                    configuration with drive electrodes disposed on the first
                    surface of the substantially flexible substrate and sense




                                         - 50 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 57 of 85 PageID #: 446




                    electrodes disposed on a second surface of the substrate
                    opposite the first surface.”

       Kuriki teaches or suggests this dependent claim element. First, its capacitive

 touch panel has a two-layer configuration in which one checkerboard pattern (26A)

 of “large lattice” electrodes (16A) is formed on a first surface 102a of the PET

 “transparent support” and another pattern (26A) of “large lattice” electrodes (16B)

 is formed on the opposite surface 102b of the PET transparent support, as depicted

 in Figs. 10 and 12 of Kuriki, Ex. 1003, 11:57–12:25; Ex. 1023, ¶ 143. As discussed

 above in regards to element 1[c]/7[c], a POSA would have understood that Kuriki’s

 square-like “large lattices” (16A/16B) on either surface of the PET transparent

 support 102 are “drive or sense electrodes” which form “a plurality of capacitive

 nodes” as claimed in the ’311 patent. Ex. 1023, ¶¶ 116–118, 144:




                                        - 51 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 58 of 85 PageID #: 447



       Second, a POSA would have understood that capacitive sensing using such a

 two-layer electrode configuration commonly entailed using one layer for the drive

 electrodes and the other layer for the sense electrodes.         Indeed, a separate

 international patent application filed by the named inventor of Kuriki described

 using the same type of “lattice” electrodes in a two layer “mutual capacitance”

 configuration, in which a “voltage signal for the touch position detection is

 sequentially supplied to the first conductive patterns 22A [drive electrodes], and the

 second conductive patterns 22B are sequentially subjected to sensing [sense

 electrodes].” Ex. 1017, 26:5–10; see also id., 16:30–25:18; Ex. 1023, ¶ 145. Thus,

 it would have been obvious, at a minimum, to use Kuriki’s two-layer electrode

 structure in the claimed drive/sense electrode configuration.

              5.    Claims 5 and 11

                    “The [apparatus of claim 1/device of claim 7], wherein the
                    touch sensor is a mutual-capacitance touch sensor or a self-
                    capacitance touch sensor.”

       Kuriki teaches or suggests this dependent claim element. A POSA would

 have understood that Kuriki’s two-layer electrode configuration was suitable and

 would have been used in both “self or mutual capacitance” implementations. Kuriki

 discloses transmitting signals from each of its two sets of conductive patterns (26A

 and 26B) “to an IC circuit for position calculation or the like.” Ex. 1003, 18:46–53;

 Ex. 1023, ¶ 146. And a separate international patent application filed by the named



                                         - 52 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 59 of 85 PageID #: 448



 inventor confirms that “lattice” electrodes such as those disclosed by Kuriki can be

 used in both “self or mutual capacitance” implementations. Ex. 1017, 25:19–26:29

 (explaining how those “lattice” electrodes), 16:30–25:18 (describing Kuriki’s

 “lattice” electrodes); Ex. 1023, ¶ 147.

                6.    Claims 6 and 12

                      “The [apparatus of claim 1/device of claim 7], wherein the
                      touch sensor further comprises electrically-isolated
                      structures made of conductive material comprising a
                      conductive mesh.”
          Kuriki discloses this dependent claim element. Its capacitive sheet includes

 “electrically isolated” “insulation patterns,” as illustrated by 28A/34A/36A and

 28B/34B/36B in Figs. 10–14. These insulation patterns are “unconnected” to the

 conductive “large lattice” electrodes and “disposed between” those large lattice

 electrodes, Ex. 1003, 12:40–46, 12:64–13:3, 13:63–14:14, 15:60–16:7; Ex. 1023,

 ¶ 148.     Kuriki further discloses that these “insulation patterns” are made of

 conductive material comprising a conductive mesh, explaining that the insulation

 portions are “composed of a plurality of the small lattices 18.” Ex. 1003, 13:63–

 14:14, 15:60–16:7; Ex. 1023, ¶ 148.




                                           - 53 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 60 of 85 PageID #: 449




             7.     Claims 13 and 16

                    “The [apparatus of claim 1/device of claim 7], wherein the
                    first and second conductive lines are substantially
                    orthogonal to one another.”

       Kuriki discloses this dependent claim element.        The first and second

 conductive lines of its “large lattice” electrodes (16A/16B) are substantially

 orthogonal to one another, as shown in Figs. 11 and 13 of Kuriki, Ex. 1023, ¶ 149:




             8.     Claims 15 and 18

                    “The [apparatus of claim 1/device of claim 7], wherein the
                    first and second conductive lines are made of fine lines of




                                       - 54 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 61 of 85 PageID #: 450




                     metal having a thickness of approximately 5 micrometers or
                     less and a width of approximately 10 micrometers or less.”

       Kuriki satisfies this dependent claim element. Regarding the conductive

 silver lines used in its “large lattice” electrodes, it discloses that the “line width of

 each conductive pattern is . . . most preferably 5 to 9 µm,” Ex. 1003, 29:10–13, and

 that “the thickness of the layer of the conductive metal on the conductive pattern

 is . . . preferably 0.1 µm or more but less than 3 µm,” id., 30:8–15; Ex. 1023, ¶ 150.

       B.     Ground II: Claims 14 and 17 Are Unpatentable Under 35 U.S.C.
              § 103 Over the Combination of Kuriki, Mikladal, and Philipp.

                     “The [apparatus of claim 1/device of claim 7], wherein the
                     first and second conductive lines are non-linear.”
       Philipp discloses the use of mesh electrodes in which the conductive lines that

 make up the mesh electrode are “wavy lines . . . formed of a series of curves,” which

 “avoid creating moiré patterns when overlaying a display” and “long linear stretches

 of fine metal line,” as depicted in Figure 4 of Philipp, Ex. 1005, ¶¶ [0030], [0041]–

 [0045]; Ex. 1023, ¶ 154:




                                          - 55 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 62 of 85 PageID #: 451




       It would have been obvious to a POSA to use Philipp’s technique of making

 conductive lines in a mesh electrode (such as the silver lines in Kuriki’s “lattice

 electrodes”) non-linear in Kuriki’s capacitive touch panel. Ex. 1023, ¶¶ 151–152.



                                       - 56 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 63 of 85 PageID #: 452



       Motivation to Combine: Philipp provides an express teaching, suggestion, or

 motivation to implement the technique of using non-linear lines in Kuriki’s “large

 lattice” electrodes: “to avoid creating moiré patterns between the display and the

 touchscreen.” Ex. 1005, Abstract, ¶¶ [0006], [0030]–[0031] (“wavy lines are used

 to avoid long linear stretches of fine metal line, reducing the probability of causing

 interference patterns”), [0042]. Kuriki itself identifies this same problem, warning

 about “moire [being] significantly generated due to the conductive metal portion,”

 which can result in “the touch panel using the conductive pattern [having] a poor

 visibility.” Ex. 1003, 29:10–28; Ex. 1023, ¶ 155.

       Reasonable Expectation of Success: Modifying Kuriki’s “large lattice”

 electrodes using these teachings from Philipp would have been well within the skill

 of a POSA. Philipp, like Kuriki, is directed to mesh electrodes for use in capacitive

 touch sensors. Ex. 1005, ¶¶ [0018]–[0019], [0042], Fig. 4; Ex. 1023, ¶ 151, 156.

 And Kuriki expressly noted that “curved” or “wavy” silver lines, such as those taught

 by Philipp, could be implemented into its lattices. Ex. 1003, 18:54–64 (“each side

 of the small lattice 18 may have a straight line shape, a curved shape, or an arc

 shape . . . each side may have a wavy shape containing outwardly protruding arcs

 and inwardly protruding arcs formed continuously . . . [or] a sine curve shape”); Ex.

 1023, ¶ 153, 156. Accordingly, use of Philipp’s technique in this manner constitutes

 nothing more than “application of a known technique [non-linear conductive lines



                                         - 57 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 64 of 85 PageID #: 453



 in a mesh electrode] to a piece of prior art ready for the improvement [Kuriki’s mesh

 electrodes].” KSR, 500 U.S. at 417.

       C.     Ground III: Claims 19 and 20 Are Unpatentable Under 35 U.S.C.
              § 103 Over the Combination of Kuriki, Mikladal, and Rappoport.

                    “The [apparatus of claim 1/device of claim 7], wherein the
                    first and second conductive lines of the flexible conductive
                    material of the drive or sense electrodes is wider at the one
                    or more edges of the display.”
       Rappoport discloses that at the edges of the device, “[c]onductive traces . . .

 such as control lines 62” that are “formed on the surface of [a] substrate 60” are

 “enlarged (e.g. widened and/or thickened) in the vicinity of bend axis 56” along

 which the conductive lines are bent around the edge of the device, as illustrated by

 Figs. 7–9, Ex. 1006, ¶¶ [0038]–[0043]; Ex. 1023, ¶ 160:




                                        - 58 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 65 of 85 PageID #: 454




                                     - 59 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 66 of 85 PageID #: 455



       It would have been obvious to a POSA to use Rappoport’s technique of

 making conductive lines in a capacitive touch sensor wider at the edge of a display

 on the conductive lines in the “large lattice” electrodes of Kuriki’s capacitive touch

 panel (as modified by Mikladal). Ex. 1023, ¶¶ 157-158.

       Motivation to Combine: Rappoport provides an express teaching, suggestion,

 or motivation to implement the technique of making conductive lines wider at the

 edge of a display in Kuriki’s “large lattice” electrodes: to “help ensure that traces 62

 are not cracked or otherwise damaged” when bent around the edge. Ex. 1006,

 ¶ [0043]; Ex. 1023, ¶¶ 161–162.

       Reasonable Expectation of Success: Modifying Kuriki’s “large lattice”

 electrodes using these teachings from Rappoport would have been well within the

 skill of a POSA. Rappoport, like Kuriki and Mikladal, is directed to devices

 featuring capacitive touch screen sensors overlaying a display, Ex. 1006, ¶¶ [0029],

 [0049]. Ex. 1023, ¶¶ 157, 163. And Kuriki expressly suggests making conductive

 lines wider as their distance from the center of an electrode increases: “the first

 terminal wiring patterns 42a farthest from the center of the arrangement of the first

 conductive patterns 26A may have the largest line width, and the first terminal

 wiring pattern 42A closer to the arrangement center may have a smaller line width.”

 Ex. 1003, 21:55–65; Ex. 1023, ¶ 163. Accordingly, the use of Rappoport’s technique

 in this manner constitutes nothing more than “application of a known technique



                                          - 60 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 67 of 85 PageID #: 456



 [making conductive lines wider at the edge of a display] to a piece of prior art ready

 for the improvement [Kuriki’s “lattice” electrodes].” KSR, 500 U.S. at 417.

       D.     Ground IV: Claims 1–13, 15–16, and 18 Are Unpatentable Under
              35 U.S.C. § 103 Over the Combination of Moran and Joo.
       Claims 1–13, 15–16, and 18 of the ’311 patent are obvious over the

 combination of Moran and Joo. Like the ’311 patent, Moran discloses a capacitive

 touch sensor, in which silver/copper mesh electrodes are formed on a flexible PET

 substrate. Joo discloses wrapping a touch sensor around the edges of a touchscreen

 display in order to create touch-sensitive regions on the sides of that device. As

 explained further below, it would have been obvious for a POSA to use Joo’s

 teachings to improve Moran’s touchscreen device, and thus satisfy the above-listed

 claims. Ex. 1023, ¶¶ 164–165.

       Because neither Moran nor Joo was before the Examiner, this Petition does

 not raise the same or substantially the same prior art or arguments previously

 considered by the Examiner. 35 U.S.C. § 325(d). In particular, Joo discloses the

 claim limitation that the Examiner believed was missing from the prior art and that

 resulted in the allowance of the ’311 patent: a “touch sensor [] configured to wrap

 around one or more edges of a display.” Ex. 1002 at 20–24 (September 24, 2015

 Reasons for Allowance).




                                         - 61 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 68 of 85 PageID #: 457




              1.     Claims 1 and 7

                     1[preamble]/7[preamble]: “An [apparatus/device]
                     comprising:”

       To the extent the preamble is limiting, it is disclosed by Moran. Moran

 discloses “contact or proximity sensors for touch input of information or instructions

 into electronic devices (e.g., computers, cellular telephones, etc.),” in the form of a

 “‘touch screen’ sensor.” Ex. 1007, 6:7–11; Ex. 1023, ¶ 166.

                     1[a]/7[a]: “a substantially flexible substrate”

       Moran discloses a substantially flexible substrate: a “light transparent

 substrate 130” made of PET, Ex. 1007, 7:16–26, which Moran describes as

 “substantially planar and flexible,” id., 8:13–16. Indeed, the ’311 patent discloses

 PET as a “suitable material” for its substrate. Ex. 1001, 2:38–40; Ex. 1023, ¶ 167.

                     1[b]/7[b]: “a touch sensor disposed on the substantially
                     flexible substrate”

       Moran discloses a touch sensor disposed on the substantially flexible substrate.

 Moran discloses “at least two electrically conductive micropatterns disposed on or

 in the visible light transparent substrate,” Ex. 1007, 4:18–26, which are connected

 to circuitry that “driv[es] the conductive micropatterns with electrical signals for the

 purpose of capacitively detecting the presence or location of a touch event to an

 information display,” id., 6:7–26; Ex. 1023, ¶ 168.

                     1[c]/7[c]: “the touch sensor comprising [drive or sense
                     electrodes/a plurality of capacitive nodes formed from drive



                                          - 62 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 69 of 85 PageID #: 458




                    or sense electrodes] made of flexible conductive material
                    configured to bend with the substantially flexible substrate”

       A POSA would have recognized that Moran’s electrically conductive

 micropatterns satisfy this limitation. Ex. 1023, ¶ 169.

       “drive or sense electrodes” / “a plurality of capacitive nodes formed
       from drive or sense electrodes”:

       Moran discloses that “both conductive micropatterns form at least a portion

 of a touch sensor, for example a touch screen sensor.” Ex. 1007, 9:6–7. Its touch

 sensor “may be . . . capacitive,” and its “micropatterns” “are particularly useful for

 projected capacitive touch screen sensors, id., 7:4–9. Moran further discloses that

 the two micropatterns “are electrically isolated” from one another, id., 4:18–24,

 6:15–26; and that controlling circuitry “drive[s]” certain conductive micropattern

 sensors and “measure[s]” other conductive micropattern sensors in order to “make

 mutual capacitance measurements of the transparent sensor element.” Ex. 1007,

 32:21–29 (emphasis added). A POSA would have understood this to mean that each

 pair of conductive micropatterns in Moran comprise drive and sense electrodes,

 which together form a capacitive node. Id., 6:7–26; Ex. 1023, ¶ 170. Indeed, a co-

 pending patent application that shared a common inventor (Frey) and assignee (3M)

 with Moran refers to the same type of “conductive micropatterns” disclosed by

 Moran as “electrodes.” Ex. 1013, ¶¶ [0110], [0117]; Ex. 1023, ¶ 170.

       “made from flexible conductive material configured to bend with the
       substantially flexible substrate”


                                         - 63 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 70 of 85 PageID #: 459



       Moran discloses that the conductive lines of its conductive micropattern

 sensors are made from metal, such as copper or silver, Ex. 1007, 22:13–15, and that

 its sensor is “substantially planar and flexible,” id., 8:13–16; Ex. 1023, ¶ 171. Thus,

 a POSA would have understood that the metal from which Moran’s electrodes are

 formed is a flexible material configured to bend with its PET substrate (light

 transparent substrate 130). Ex. 1023, ¶ 172. Indeed, numerous prior art references

 confirm that electrodes made from silver, (which Moran discloses as suitable for its

 micropatterns) are flexible and would bend along with a substantially flexible

 substrate. See, e.g., id. (citing Ex. 1003, 21:8–12, Ex. 1012, ¶¶ [0008]–[0009]; Ex.

 1018, 2955, 2962; Ex. 1019, ¶¶ [0025], [0033], [0081]). Moreover, the ’311 patent

 similarly discloses that its electrode pattern in the flexible embodiment depicted in

 Figure 7 is made from silver or copper. Ex. 1001, 7:44–47. This confirms that the

 silver/copper disclosed by Moran are flexible materials that can bend along with a

 substrate. See Ex. 1023, ¶ 122.

                     1[d]/7[d]: “the flexible conductive material of the drive or
                     sense electrodes comprises first and second conductive lines
                     that electrically contact one another at an intersection to
                     form a mesh grid”
       Moran discloses that the flexible conductive material of its electrodes

 comprises “regions with two dimensional meshes (or simply, meshes), where a

 plurality of linear micropattern features (often referred to as conductor traces or

 metal traces) such as micropatterned lines define enclosed open areas within the


                                         - 64 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 71 of 85 PageID #: 460



 mesh,” Ex. 1007, 9:17–22, as illustrated by Figure 2 of Moran (below), Ex. 1023,

 ¶ 173. As is evident from the figure, these micropatterned lines constitute “first and

 second lines that electrically contact one another at an intersection to form a mesh

 grid”:




                      1[e]/7[e]: “the substantially flexible substrate and the touch
                      sensor are configured to wrap around one or more edges of
                      a display”

          This limitation would have been obvious based on the combination of Moran

 and Joo. Moran discloses that its substrate and sensor are “substantially planar and

 flexible,” Ex. 1007, 8:13–16, but does not expressly discuss wrapping them around

                                         - 65 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 72 of 85 PageID #: 461



 a display edge, Ex. 1023, ¶ 174. Based on the teachings of Joo, it would have been

 obvious for a POSA to modify Moran’s flexible capacitive touch screen sensor to

 wrap that touch sensor around the edges of an underlying display. See Ex. 1023, ¶¶

 177–183.

       Motivation to Combine: Moran and Joo each disclose touch sensors for

 touchscreens with similarly layered structures (a conductive element formed on a

 transparent substrate, which is then layered over a display), Ex. 1007, 4:18–26, 6:30–

 7:3, Fig. 2; Ex. 1008, ¶¶ [0060]–[0063], Fig. 7. Ex. 1023, ¶¶ 175, 181. Joo, in turn,

 teaches that when “the touch input portion for generating input when being touched

 is extendingly formed at the side surface portion of the cover as well as the upper

 surface portion thereof . . . a separate side key is not required to be mounted at the

 side surface of the terminal for generating input, thereby simplifying the

 manufacturing process thus to reduce the manufacturing cost and make the enhanced

 appearance of the terminal.” Ex. 1008, ¶ [0067]; Ex. 1023, ¶ 176. Indeed, the

 advantages of wrapping a touch sensitive element around the side of a display were

 expressly taught by a number of other contemporary prior art references, as

 discussed above in Section VI.B. Ex. 1004, 7:31–44; Ex. 1015, 13:42–14:8; Ex.

 1016, 22:16–23:12; Ex. 1023, ¶¶ 178–179.

       Therefore, Joo and other prior art provides an express teaching, suggestion, or

 motivation for a POSA to wrap Moran’s flexible touch sensor around the sides of



                                         - 66 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 73 of 85 PageID #: 462



 the device to create additional touch-sensitive regions. See Ex. 1023, ¶¶ 177–183.

 And the use of Joo’s teachings in this manner constitutes nothing more than

 “application of a known technique [Joo’s teaching of wrapping a touch sensor

 around the edges of a touchscreen display] to a piece of prior art ready for the

 improvement [Moran’s flexible capacitive touch sensor for a touchscreen device].”

 KSR, 550 U.S. at 417 (2007); see also id. at 415–419.

       Reasonable Expectation of Success: Modifying Moran’s flexible touch

 sensor using these teachings from Joo would have been well within the skill of a

 POSA. Ex. 1023, ¶ 180. The modification could be implemented, for example, by

 expanding the touch-sensitive portions of Moran’s touch sensor (i.e., the portions

 containing the mesh electrodes) and wrapping those expanded touch-sensitive

 portions around the edges of Moran’s display. Id.

       As discussed above for element 1[c]/7[c], Moran’s substrate and mesh

 electrodes disposed thereon are “substantially planar and flexible.” Ex. 1007, 8:15–

 16; Ex. 1023, ¶ 182. Moreover, both Moran and Joo come from the same field of

 endeavor: transparent touch sensors for use in touchscreen devices. Ex. 1007, 7:4–

 9, 6:7–26; Ex. 1008, ¶ [0037]; Ex. 1023, ¶ 181. And both Moran and Joo disclose

 touch sensors in which a touch-sensitive layer is formed on an underlying transparent

 substrate, and the touch sensor is then layered on top of a display (such as an LCD

 or OLED). Ex. 1007, 5:28–6:6, 6:30–7:3; Ex. 1008, ¶¶ [0060]–[0062], Fig. 7; Ex.



                                        - 67 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 74 of 85 PageID #: 463



 1023, ¶ 181. Accordingly, modifying Moran in this manner would not have required

 changes to the underlying structure of Moran’s flexible touch sensor, nor to the

 materials used to construct its elements. Id.

       A POSA would also have been aware of numerous contemporary prior art

 references describing how copper or silver mesh electrodes layered on a PET

 substrate were flexible and could be bent around the edge of a device. Ex. 1003,

 21:8–12, Figs. 15/18; Ex. 1004, 12:10–11, 6:43–63, 7:19–44; Ex. 1015, 8:64–9:11,

 13:4–14:8; Ex. 1012, ¶¶ [0008]–[0009] (noting that copper/silver “mesh” electrodes

 are “malleable” and “can be readily flexed or kinked without damage”); Ex. 1018,

 2955, 2962 (explaining that “outstanding flexibility makes the Ag NW [silver

 nanowire] electrode attractive for flexible electronics,” such as “capacitive touch

 screens.”); Ex. 1019, ¶¶ [0025], [0033], [0081] (describing the “favorable physical

 and mechanical properties” of “robust and flexible” silver nanowire matrices for use

 in “touch screens”); Ex. 1023, ¶ 183.

       Therefore, a POSA would have recognized this modification to be nothing

 more than the “application of a known technique [wrapping a touch sensor around

 the edge of a touchscreen device’s display] to a piece of prior art ready for the

 improvement [Moran].” KSR, 500 U.S. at 417.




                                         - 68 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 75 of 85 PageID #: 464




                    7[f]: “one or more computer-readable non-transitory
                    storage media embodying logic that is configured when
                    executed to control the touch sensor.”
       A POSA would have recognized that Moran discloses logic that is stored in

 memory or other circuitry that is configured to control its capacitive touch sensor,

 which satisfies this claim element.        Moran discloses that the conductive

 micropatterns are connected to “signal processing, logic, memory, or other circuitry

 for the purpose of using the micropatterns as part of a system (e.g., driving the

 conductive micropatterns with electrical signals for the purpose of capacitively

 detecting the presence or location of a touch event to an information display).” Ex.

 1007, 6:7–26; Ex. 1023, ¶ 184.

       Using such logic and memory for the purpose of detecting touch presence or

 location would be understood as executing instructions (“logic”) that is stored on

 ROM or other non-volatile memory (computer-readable non-transitory storage

 media). See Ex. 1023, ¶ 138, 184. Indeed, the ’311 patent itself discloses that “a

 computer-readable storage medium may include a semiconductor-based or other

 ICs,” Ex. 1001, 8:11–34. Thus, this element would be at a minimum obvious in

 view of Moran’s disclosure. Ex. 1023, ¶ 184.

             2.     Claims 2 and 8

                    “The [apparatus of claim 1/device of claim 7], wherein the
                    touch sensor further comprises tracking disposed on the
                    substantially flexible substrate configured to provide drive
                    or sense connections to or from the drive or sense electrodes


                                        - 69 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 76 of 85 PageID #: 465




                    and configured to bend with the substantially flexible
                    substrate.”

       Moran discloses the “tracking” of this dependent claim element. Moran

 discloses that its conductive micropatterns (the claimed drive and sense electrodes,

 as discussed above) are “connected to . . . signal processing, logic, memory, or other

 circuitry,” Ex. 1007, 6:19–24, such as “first and second conductive trace regions 706

 and 726” disposed on the substrate—the claimed tracking—as illustrated in Figs.

 11–13 of Moran, id., 30:24–29, 31:9–12, 32:10–12; Ex. 1023, ¶ 185:




       Moran further discloses that the controlling circuitry “drives[s]” certain

 conductive micropattern sensors (the claimed drive electrodes) and “measure[s]”

 other conductive micropattern sensors (the claimed sense electrodes) in order to


                                         - 70 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 77 of 85 PageID #: 466



 “make mutual capacitance measurements of the transparent sensor element.” Ex.

 1007, 32:21–29; Ex. 1023, ¶ 186. And a POSA would have recognized that Moran’s

 “conductive trace regions,” like its mesh electrodes, would similarly bend with the

 substantially flexible PET substrate, as Moran discloses that its sensor is

 “substantially planar and flexible,” Ex. 1007, 8:13–16, and contemporary prior art

 references such as Kuriki disclosed that such silver traces disposed on a PET

 substrate are flexible and configured to bend with the PET substrate, Ex. 1003,

 11:64–12:8, 19:64–21:12, 27:48–28:38, 29:55–30:33, Fig. 15 at S106, Fig. 18; Ex.

 1023, ¶ 187.

                3.   Claims 3 and 9

                     “The [apparatus of claim 1/device of claim 7], wherein the
                     first and second conductive lines are made from one of
                     carbon nanotubes, copper, silver, a copper-based material,
                     or a silver-based material.”
       Moran discloses that the conductive lines of its “conductive micropattern”

 mesh electrodes may be made from silver or copper, and thus discloses this

 dependent claim element. Ex. 1007, 22:13–15; Ex. 1023, ¶ 188.

                4.   Claims 4 and 10

                     “The [apparatus of claim 1/device of claim 7], wherein the
                     touch sensor comprises: a single-layer configuration with
                     drive and sense electrodes disposed only on a first surface of
                     the substantially flexible substrate; or a two-layer
                     configuration with drive electrodes disposed on the first
                     surface of the substantially flexible substrate and sense



                                        - 71 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 78 of 85 PageID #: 467




                     electrodes disposed on a second surface of the substrate
                     opposite the first surface.”

       Moran discloses that its touch sensor may have a single-layer configuration

 where both drive and sense electrodes are disposed on the same surface of the

 substantially flexible substrate. Specifically, Moran discloses that “[t]he second

 conductive micropattern may be disposed on the same substrate as the first

 conductive micropattern,” Ex. 1007, 8:29–9:5, and that these conductive

 micropatterns are “patterned onto the surface of the substrate in a mesh geometry . . .

 provided that the second conductive micropattern . . . is electrically isolated from the

 first conductive micropattern,” id., 6:7–26; Ex. 1023, ¶ 189.

              5.     Claims 5 and 11

                     “The [apparatus of claim 1/device of claim 7], wherein the
                     touch sensor is a mutual-capacitance touch sensor or a self-
                     capacitance touch sensor.”

       Moran satisfies this dependent claim element, disclosing that its touch sensor

 is a mutual-capacitance sensor that “make[s] mutual capacitance measurements.”

 Ex. 1007, 32:21–22; Ex. 1023, ¶ 190.

              6.     Claims 6 and 12

                     “The [apparatus of claim 1/device of claim 7], wherein the
                     touch sensor further comprises electrically-isolated
                     structures made of conductive material comprising a
                     conductive mesh.”

       Moran satisfies this dependent claim element, disclosing that electrically

 “isolated squares of conductor” may be patterned onto the substrate in areas between


                                          - 72 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 79 of 85 PageID #: 468



 mesh electrodes to ensure “uniformity of light transmittance across the sensor” (i.e.,

 to ensure the underlying display has a uniform appearance to the human eye). Ex.

 1007, 20:15–31. Fig 10 of Moran, for example, discloses “mesh bars 441 that are

 electrically isolated from the electronic device” and “serve to maintain optical

 uniformity across the sensor,” id., 28:3–25; Ex. 1023, ¶ 191:




              7.    Claims 13 and 16

                    “The [apparatus of claim 1/device of claim 7], wherein the
                    first and second conductive lines are substantially
                    orthogonal to one another.”

       Moran satisfies this dependent claim element, disclosing that the first and

 second conductive lines of its mesh electrodes are substantially orthogonal to one

 another, as shown (for example) in Figure 2, Ex. 1023, ¶ 192:




                                         - 73 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 80 of 85 PageID #: 469




              8.    Claims 15 and 18

                    “The [apparatus of claim 1/device of claim 7], wherein the
                    first and second conductive lines are made of fine lines of
                    metal having a thickness of approximately 5 micrometers or
                    less and a width of approximately 10 micrometers or less.”
       Moran satisfies this dependent claim element, disclosing that the conductive

 lines of its mesh electrodes may be made from silver or copper, Ex. 1007, 22:13–15,

 that the preferred values for “the minimum dimension of the conductive pattern

 elements (e.g., the width of a line or conductive trace)” in its mesh electrodes “are

 between 0.5 and 5 micrometers, more preferably between 1 and 4 micrometers, and

 most preferably between 1 and 3 micrometers,” id., 12:7–30, and that “the (e.g. metal)




                                        - 74 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 81 of 85 PageID #: 470



 micropattern” of its mesh electrodes “is relatively thin, ranging in thickness from

 about 5 nanometers to about 50 nanometers,” id., 22:27–23:4; Ex. 1023, ¶ 193.

       E.     Ground V: Claims 14 and 17 Are Unpatentable Under 35 U.S.C.
              § 103 Over the Combination of Moran, Joo, and Philipp.

              “The [apparatus of claim 1/device of claim 7], wherein the first
              and second conductive lines are non-linear.”

       As explained above in Section VI.C, Philipp discloses these claim limitations.

 And also as explained above in Section VI.C, Philipp provides an express teaching,

 suggestion, or motivation to implement Philipp’s non-linear conductive lines in

 Moran’s mesh electrodes: “to avoid creating moiré patterns between the display and

 the touchscreen,” Ex. 1005, Abstract, ¶¶ [0006], [0030]–[0031] (“wavy lines are

 used to avoid long linear stretches of fine metal line, reducing the probability of

 causing interference patterns”), [0042]; Ex. 1023, ¶ 198. Moran similarly notes

 concerns about “minimizing interference such as moire effects.” Ex. 1007, 12:15–

 18; Ex. 1023, ¶ 198.

       Furthermore, a POSA would have had a reasonable expectation of success in

 incorporating Philipp’s teachings of non-linear conductive lines in Moran’s mesh

 electrodes. Philipp, like Moran, is directed to mesh electrodes for use in capacitive

 touch sensors. Ex. 1005, ¶¶ [0018]–[0019], [0042], Fig. 4; Ex. 1023, ¶ 199. And

 Moran expressly discloses that its mesh electrodes can have “wavy or irregular linear

 traces.” Ex. 1007, 9:32–10:3; Ex. 1023, ¶ 199. Accordingly, incorporating Philipp’s



                                        - 75 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 82 of 85 PageID #: 471



 teachings of non-linear lines in this manner constitutes nothing more than

 “application of a known technique [Philipp’s non-linear conductive lines] to a piece

 of prior art ready for the improvement [Moran’s mesh electrodes].” KSR, 550 U.S.

 at 417.

       F.      Ground VI: Claims 19 and 20 Are Unpatentable Under 35 U.S.C.
               § 103 Over the Combination of Moran, Joo, and Rappoport.

               “The [apparatus of claim 1/device of claim 7], wherein the first
               and second conductive lines of the flexible conductive material of
               the drive or sense electrodes is wider at the one or more edges of
               the display.”

       As explained above in Section VI.D, Rappoport discloses these claim

 limitations. Further, it would have been obvious to a POSA to apply Rappoport’s

 technique—making conductive metal lines wider at the edge of a display—to the

 conductive lines of Moran’s metal mesh electrodes (as modified by Joo). Ex. 1023,

 ¶¶ 200–204.

       Motivation to Combine: Rappoport provides an express teaching, suggestion,

 or motivation to implement this modification: to “help ensure that traces 62 are not

 cracked or otherwise damaged” when bent around the edge. Ex. 1006, ¶ [0043]; Ex.

 1023, ¶¶ 205.

       Reasonable Expectation of Success: Rappoport, like Moran and Joo, is

 directed to devices with touchscreen sensors overlaying a display. Ex. 1006,

 ¶¶ [0029], [0049]; Ex. 1023, ¶ 206 (citing Ex. 1003, 21:55–65). Accordingly, use



                                        - 76 -
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 83 of 85 PageID #: 472
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 84 of 85 PageID #: 473
Case 2:19-cv-00152-JRG Document 56-1 Filed 12/20/19 Page 85 of 85 PageID #: 474
